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 1                        IN THE UNITED STATES DISTRICT COURT
 2                        FOR THE NORTHERN MARIANA ISLANDS

 3
 4    RANDALL T. FENNELL,                         Case No. 1:09-CV-00019
 5                             Plaintiff,
 6
              v.                                  ORDER OF DISMISSAL
 7                                                WITH PREJUDICE
      MATTHEW T. GREGORY, former
 8
      Attorney General, GREGORY BAKA,
 9    Acting Attorney General, ANTHONY
      WELCH, Assistant Attorney General,
10    TOM J. SCHWEIGER, Assistant Attorney
      General, and DOES 1–20, in their official
11
      and individual capacities,
12
                               Defendants.
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14          Plaintiff was ordered to show cause why this case should not be dismissed with
15   prejudice for failure to prosecute and given until March 13, 2013, to respond. (See Order
16   to Show Cause, Feb. 27, 2013, ECF No. 51.) Notice of the order was mailed to Plaintiff’s
17   counsel electronically. No response having been received, the case is dismissed with
18   prejudice.
19          SO ORDERED this 15th day of March, 2013.
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21                                                      _____________________________
                                                        RAMONA V. MANGLONA
22                                                      Chief Judge
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